842 F.2d 1292Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William Wesley POINDEXTER, Petitioner-Appellant,v.Harry L. ALLSBROOK;  Attorney General of the State of NorthCarolina, Respondents-Appellees.
    No. 87-6595.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 22, 1988.Decided March 7, 1988.
    
      William Wesley Poindexter, appellant pro se.
      Barry Steven McNeill, Office of the Attorney General of North Carolina for appellees.
      Before K.K. HALL, MURNAGHAN and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the magistrate's recommendation discloses that an appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny leave to appeal in forma pauperis, deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Poindexter v. Allsbrook, C/A No. 86-37-C-G (M.D.N.C. Aug. 12, 1987).
    
    
      2
      DISMISSED.
    
    